
*196OPINION.
Phillips :
Petitioners claim that during the years 1920, 1921, and 1922, they were affiliated with the Terminal Railroad of St. Louis and are entitled to file consolidated returns with that corporation. See section 240, Revenue Acts of 1918 and 1921. The same claim was made with respect to the years 1917, 1918, and 1919 and the Board, in Terminal Railroad of St. Louis, 4 B. T. A. 596, denied it. The facts presented to us by the stipulation of the parties in the present proceeding are substantially different from those in the prior proceeding and generally are less favorable to the claim of the petitioners.
There can be no question that the Terminal Railroad Association of St. Louis, so long as it performs the terms of its lease, controls the physical properties of the petitioners. The test laid down by the statute for affiliation, however, is control of the stock by the same or closely affiliated interests. This test is not met in this case. Ice Service Co. v. Commissioner, 30 Fed. (2d) 230.

Decision will be entered for the respondent.

